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                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

MONICA L HENDRICKS CIVIL ACTION NO. 20-1641

VERSUS JUDGE ELIZABETH E. FOOTE

PRIDE INDUSTRIES INC ET AL MAGISTRATE JUDGE HORNSBY


                                        JUDGMENT

       Considering the foregoing order which granted the Plaintiff's voluntary motion to

 dismiss, IT IS HEREBY ORDERED that Plaintiff's civil suit against the Defendant, Pride

 Industries, Inc., be and is hereby DISMISSED without prejudice.

       IT IS FURTHER ORDERED that any other pending motions in this action are

 DENIED AS MOOT.

       The Clerk of Court is directed to close this case.

        THUS DONE AND SIGNED this 14th day of June, 2022.




                                          ELIZABETH ERNY FQf)TE
                                          UNFTED STATES DISTFW JUDGE
